        Case: 1:23-cv-06262 Document #: 7 Filed: 10/12/23 Page 1 of 1 PageID #:25
                 U.S. District Court for the Northern District Of Illinois
                               Attorney Appearance Form


 Case Title: Jeffrey Zimmerman v. SAGO                 Case Number: 1:23-cv-06262
 Chicago f/k/a Schlesinger Central
 Processing Services

An appearance is hereby filed by the undersigned as attorney for:
SAGO Chicago f/k/a Schlesinger Central Processing Services

Attorney name (type or print): Mary Ann Smigielski

Firm:         Lewis Brisbois Bisgaard & Smith LLP

Street address:         550 W. Adams, Suite 300

City/State/Zip:       Chicago, Illinois 60661

 Bar ID Number:          6243913                       Telephone Number:           312-463-3377

 (See item 3 in instructions)

Email Address: Mary.Smigielski@lewisbrisbois.com

Are you acting as lead counsel in this case?                                     Yes           No

Are you a member of the court’s general bar?                                     Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

Are you appearing pro hac vice?                                                  Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on October 12, 2023

Attorney signature:        S/ Mary Ann Smigielski
                           (Use electronic signature if the appearance form is filed electronically.)

130649780.1
